                            UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON

                                    PORTLAND DIVISION


UNITED STATES OF AMERICA                             3:21-cr-- - - - - - - -

               v.                                    INDICTMENT

CHEYENNE AUTUMN FRANKLIN,                            18 U.S.C. § 922(g)(l) and (o)
                                                     18 u.s.c. § 2
               Defendant.
                                                     Forfeiture Allegation



                               THE GRAND JURY CHARGES:

                                           COUNT 1
                      (Illegal Possession and Transfer of a Machine Gun)
                                   (18 U.S.C. §§ 922(0) and 2)

       On or about August 12, 2020, in the District of Oregon, defendant CHEYENNE

AUTUMN FRANKLIN, did knowingly possess and transfer a machinegun, that is, a weapon

which shoots, is designed to shoot, or can be readily restored to shoot, automatically more than

one shot, without manual reloading, by a single function of the trigger (26 U.S.C. § 5845(b)), to

wit: an Unknown manufacturer Sten-type machinegun, 9mm Parabellum caliber, with no serial

number;

       In violatjon of Title 18, United States Code, Sections 922( o) and 2.

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                                            COUNT2
                                (Felon in Possession of a Firearm)
                                        (18 U.S.C. § 922(g)(l))

       On or about August 12, 2020, in the District of Oregon, defendant CHEYENNE

AUTUMN FRANKLIN, knowing that she had been previously convicted of a crime punishable

by imprisonment for a term exceeding one year, specifically:

       1. Felon in Possession of a Firearm, on or about May 23, 2012, in Marion County

           Circuit Court, State of Oregon, Case Number 11C50269,

       2. Identity Theft, on or about January 2, 2002, in Linn County Circuit Court, State of

           Oregon, Case Number 01122968,

did knowingly and unlawfully possess the following firearms :

       1. An unknown manufacturer Sten-type machinegun, 9mm Parabellum caliber, with no

           serial number, and

       2. A Mossberg shotgun, model 195 , 12-gauge, with no serial number,

which firearms had previously been shipped or transported in interstate or foreign commerce.

       In violation of Title 18, United States Code, Section 922(g)(l ).

                                            COUNT3
                                (Felon in Possession of a Firearm)
                                        (18 U.S.C. § 922(g)(l))

       On or about August 13 , 2020, in the District of Oregon, defendant CHEYENNE

AUTUMN FRA KLIN, knowing that she had been previously convicted of a crime punishable

by imprisonment for a term exceeding one year, specifically:

       1. Felon in Possession of a Firearm, on or about May 23, 20 12, in Marion County

           Circuit Court, State of Oregon, Case Number l 1C50269,


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       2. Identity Theft, on or about January 2, 2002, in Linn County Circuit Court, State of

           Oregon, Case Number 01122968,

did knowingly and unlawfully possess the following firearms:

       1. a High Standard rifle, unknown model, .22 caliber, serial number unknown, and

       2. a Hawk Industries, Inc., model H&R Pardner Pump, 20-gauge shotgun, bearing serial

           number NZ809485 ,

which firearms had previously been shipped or transported in interstate or foreign commerce.

       In violation of Title 18, United States Code, Section 922(g)( 1).



                                FORFEITURE ALLEGATION

       Upon conviction of the offenses in Counts 1, 2, or 3, defendant shall forfeit to the United

States pursuant to 18 U.S.C. § 924(d) and 28 U.S .C. § 2461(c), the firearms involved in those

offenses, including:

       1. an Unknown manufacturer Sten-type machinegun, 9mm Parabellum caliber, with no

           serial number,

       2. a Mossberg shotgun, model 195, 12-gauge, serial number unknown,



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II


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       3. a High Standard rifle, unknown model, .22 caliber, serial number unknown, and

       4. a Hawk Industries, Inc., model H&R Pardner Pump, 20-gauge shotgun, bearing serial

           number NZ809485,

and all associated ammunition.

Dated: March    j_,2021



Presented by:

SCOTT ERIK ASPHAUG




LEAH K. BOLSTAD, OSB #052039
Assistant United States Attorney




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